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 1    SO. CAL. EQUAL ACCESS GROUP
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 3
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 5    scalequalaccess@yahoo.com
 6    Attorneys for Plaintiff
      KENNETH DAVIDSON
 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
      KENNETH DAVIDSON,                                 Case No.: 8:20-cv-01599-CVC-ADSx
11
12                 Plaintiff,
13          vs.                                         NOTICE OF VOLUNTARY
                                                        DISMISSAL OF ENTIRE ACTION
14                                                      WITH PREJUDICE
      H&S ENERGY, LLC; and DOES 1 to 10,
15
16                 Defendants.
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18
            PLEASE TAKE NOTICE that KENNETH DAVIDSON
19
      (“Plaintiff”) pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby
20
      voluntarily dismisses the entire action with prejudice pursuant to Federal Rule of Civil
21
      Procedure Rule 41(a)(1) which provides in relevant part:
22
            (a) Voluntary Dismissal.
23
                   (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
24
                          and any applicable federal statute, the plaintiff may dismiss an action
25
                          without a court order by filing:
26
                          (i)     A notice of dismissal before the opposing party serves either an
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                                  answer or a motion for summary judgment.


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           NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
     Case 8:20-cv-01599-CJC-ADS Document 15 Filed 11/16/20 Page 2 of 2 Page ID #:59




 1    None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 2    summary judgment. Accordingly, this matter may be dismissed without an Order of the
 3    Court.
 4
 5    DATED: November 16, 2020 SO. CAL. EQUAL ACCESS GROUP
 6
 7                                   By:      /s/ Jason J. Kim
 8                                         Jason J. Kim, Esq.
                                           Attorneys for Plaintiff
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           NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
